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LACRETIA JoHNsoN, sHANNA "‘ ‘lCKSON

JOHNSON, PAMELA JOHNSON and
FISHER SMITH,

Plaintiffs,
VS. No. 03-1156-T/An

UNIVERSITY OF TENNESSEE
FAMILY PRACTICE CENTER,

\_/\_/\_JV\./\_/\_/\-,/\-,/\-./\_/\_/

Defendant.

 

ORDER TO SHOW CAUSE

 

This action was filed against the University of Tennessee Family Practice Center on behalf
of four plaintiffs, Lacretia Johnson, Shanna Johnson, Parnela Johnson and Fisher Srnith. On October
20, 2004, plaintiffs’ counsel, Michael D. Cooke, filed a motion to withdraw as counsel for plaintiff
Fisher Smith. Mr. Cooke stated that he had attempted to communicate With Ms. Fisher on multiple
occasions in writing, by telephone and in person, without success. Mr. Cooke further stated that he
could no longer adequately represent Ms. Fisher due to her lack of cooperation with his office.

The motion to withdraw was granted by Magistrate Judge S. Thomas Anderson on October
25, 2004. The order gave plaintiff thirty days in which to obtain new counsel. However, no attorney
has made an appearance on behalf of Fisher, and she has filed nothing to indicate that she intends

to prosecute this action pro se.

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with Rule 58 and 'cr _79 (a) FRCP on (§` l | -§ § goes \

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The defendant filed a motion for summary judgment on April 4, 2005. In that motion,
defendant states that plaintiff failed to appear for her deposition, Which was noticed for December
l, 2004. Responses to the motion for summary judgment were due on or before May 9, 2005. On
May 6, 2005, the Court received notice from Nancy M. Maddox, counsel for the defendant, that the
claims of plaintiffs Lacretia Johnson, Shanna Johnson and Pamela Johnson have been settled.

No response to the motion for summary judgment has been filed on behalf of plaintiff Smith.
As she has failed to either obtain new counsel or notify the Court that she intends to proceed pro se,
and also failed to appear at her deposition, it appears that plaintiff has abandoned her claimsl

PlaintiffFisher Smith is hereby ORDERED to show cause, in writing and within fifteen (15)
days after the date of this order, why her claims should not be dismissed for failure to prosecute.
Failure to respond will result in immediate dismissal of her claims, without further notice.

The Clerk of Court is directed to send a copy of this order to plaintiff Smith at the following
address: 137 McAbee St., Beech Bluff, TN 38313.

IT IS SO ORDER_ED.

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case l:OS-CV-Ol 156 was distributed by faX, mail, or direct printing on
May ll, 2005 to the parties listed.

ESSEE

 

Nancy M. Maddox

THE UNIVERSITY OF TENNESSEE
66 North Pauline Street

Ste. 428

l\/lemphis7 TN 38163

Michael D. Cooke

LAW OFFICE OF l\/HCHAEL D. COOKE
P.O. Box 625

luka7 MS 38852

Honorable J ames Todd
US DISTRICT COURT

